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10                              UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
12                                 SAN FRANCISCO DIVISION
13
14
     UNITED STATES OF AMERICA,                 )       No. CR 05-0375 SI
15                                             )
             Plaintiff,                        )
16                                             )       [PROPOSED] ORDER EXCLUDING
        v.                                     )       TIME FROM SPEEDY TRIAL ACT
17                                             )       CALCULATION
     YUTA ARAI,                                )
18                                             )
             Defendant.                        )
19                                             )
20
21
22           This matter came on for hearing before the Court on July 3, 2006. Defendant Yuta
23   Arai appeared with his counsel, George J. Cotsirilos, Jr. The United States appeared
24   through Assistant U.S. Attorney Barbara Silano.
25           The parties represented that the government has previously provided voluminous
26   discovery materials (according to the government, it includes more than 150,000 pages of
27   images, plus DVD’s and CD-ROMs as well as videotapes) to other defense counsel for
28   other defendants charged in this and related cases. (The Court is familiar with the
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1    underlying case, United States v. Enrique Chan, et al., CR 05-0375 SI, which stemmed
2    from a wiretap investigation and involved numerous defendants.) Defense counsel and
3    the defendant requested the continuance and agreed that a Speedy Trial Act exclusion is
4    appropriate under 18 U.S.C. § 3161(h)(8), based upon counsel’s need to obtain and
5    review the discovery and become familiar with the case, and to allow adequate time to
6    prepare the case.
7           The next date for this case is August 28, 2006 at 3:30 p.m. before United States
8    District Judge Susan Illston.
9           Accordingly, THE COURT FINDS that a continuance from July 3, 2006 through
10   and including August 28, 2006 is appropriate, and that the ends of justice served by
11   granting such a continuance outweigh the best interest of the public and the defendant in a
12   speedy trial. THE COURT FURTHER FINDS that failure to grant such a continuance
13   would deny the defendant and his counsel the reasonable time necessary for effective
14   preparation of the case (including review of the voluminous discovery), taking into
15   account the exercise of due diligence. THE COURT THEREFORE ORDERS that the
16   period from July 3, 2006 through September 1, 2006 is excludible time within the
17   meaning of 18 U.S.C. § 3161(h)(8)(A) & (B)(iv)..
18
19
               8/28/06
20   DATED:
                                               HON. NANDOR VADAS
21                                             United States Magistrate Judge
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24
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     ORDER EXCLUDING TIME                        2
